IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DAVID KUZMANICH
301 Irts Rd. :
Cherry Hill, NJ 08003 CIVIL ACTION
Plaintiff, No.
¥.
TARGET CORPORATION JURY TRIAL DEMANDED
1 Mifflin St.

Philadelphia, PA 19148

Defendant.

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through his undersigned counsel, hereby avers as follows:
INTRODUCTION
1. This action has been initiated by David Kuzmanich (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) against Target Corporation (hereinafter referred to as
“Defendant” for violations of the Family and Medical Leave Act (“FMLA” - 29 U.S.C. §§ 2601
et seg.) and Pennsylvania common law.' As a direct consequence of Defendant’s unlawful

actions, Plaintiff seeks damages as set forth herein. |

 

' Plaintiff has dual-filed claims of actual, perceived, record of disability discrimination, retaliation, and failure to
accommodate with the Equal Employment Opportunity Commission (“EEOC”) and the Pennsylvania Human
Relations Commission (“PHRC”). Plaintiff intends to amend his complaint to include the aforesaid claims under the
Americans with Disabilities Act ("ADA" - 42 USC §§ 12101 et. seg.) once such claims have been administratively
exhausted with the EEOC and the EEOC issues a right-to-sue letter. Plaintiff also intends to amend his instant
lawsuit to include the same claims under the Pennsylvania Human Relations Act (“PHRA”) once his administrative
remedies are fully exhausted with the PHRC.

 
JURISDICTION AND VENUE

2, This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff's
claims because this civil action arises under laws of the United States.

3. This Court may properly maintain personal jurisdiction over Defendant because
Defendant’s contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,
satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.
Washington, 326 U.S. 310 (1945) and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Defendant is deemed to reside where it is subject to

personal jurisdiction, rendering Defendant a resident of the Eastern District of Pennsylvania.

PARTIES
5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, with an address as set forth in the caption.
7. Defendant is a department store retailer with multiple locations throughout the

United States, including the location that Plaintiff worked at in Philadelphia, PA (as identified in
the above-captioned address).

8. At all times relevant herein, Defendant acted by and through its agents, servants
and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

 
FACTUAL BACKGROUND

9. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

10. Plaintiff was hired to work for Defendant in or about July of 2011 and remained
employed with Defendant for approximately seven (7) years until he was wrongfully terminated
on or about June 8, 2018 (discussed further infra).

11. At the time of his separation from Defendant (on or about June 8, 2018), Plaintiff
was employed as a Maintenance Mechanic.

12. Throughout his tenure with Defendant, Plaintiff was a dedicated and hard-
working employee and prior to August of 2017, Plaintiff lacked any significant disciplinary
history.

13. On or about August 4, 2017, Plaintiff suffered a work-related injury while
performing work for Defendant and reported same to Defendant’s management.

14. As a result of his work-related injuries (discussed supra), Plaintiff filed a
workers’ compensation claim and sought medical treatment.

15. Following his August 4, 2017 work-related injury, Plaintiff began to suffer from a
serious health condition related to his ankle and requested light-duty work because he had some
work restrictions.

16. In retaliation for filing a workers’ compensation claim and requesting
accommodations for the health conditions that stemmed from his work-related injury,
Defendant’s management subjected Plaintiff to hostility and animosity, including but not limited

to:

 
i. Failing to adhere to Plaintiff's aforesaid work restrictions and instead
assigning him tasks that fell outside of his light-duty request;
ii. Pretextually reprimanding Plaintiff; and
iii, Treating Plaintiff in a rude and demeaning manner.

17. Approximately three weeks after his aforesaid work-related injury, Plaintiffs
health condition grew worse and he was placed in an orthopedic boot, which decreased his
mobility.

18. Shortly after bemg placed in a orthopedic boot, Defendant’s HR department,
specifically Dara Mehler (hereinafter “Ms. Mehler’), finally met with Plaintiff to determine if
they could accommodate his aforesaid disabilities.

19, Approximately 1.5 weeks after Plaintiff's aforementioned meeting with Ms.
Mehler, he was placed out of work on a medical leave because Defendant’s Human Resources
(“HR”) department indicated they could not accommodate his health conditions.

20. Plaintiff asked Ms. Mehler during his aforementioned meeting with her (well after
he sustained his work-related injury — discussed supra) if this meeting should have taken place
when he was first injured and began suffering from health conditions. In response, Ms. Mehler
agreed that a meeting should have taken place sooner than it had but she did not know what she
was doing.

21. Plaintiff was thereafter placed on an FMLA-qualifying medical leave of absence
from in or about September of 2017 through in or about January of 2018.

22. Upon his return to work from medical leave in or about January of 2018, Plaintiff
complained to Defendant’s District HR Manager, one Dana Ricciardi, that he believed his

workers’ compensation claim was mishandled by Ms. Mehler, including but not limited to that

 
she had failed to have an interactive meeting with Plaintiff to determine if he could be
accommodated when he first informed them that he had restrictions and needed
accommodations.

23. Almost immediately upon his return to work following his medical leave and
after complaining to Ms. Ricciardi (discussed supra), Plaintiff began to be subjected to increased
hostility and animosity, including but not limited to being issued various pretextual disciplines.

24. On or about June 8, 2018, Plaintiff was terminated from his employment with
Defendant after 7 years of dedicated service for alleged performance issues. However, Plaintiff
was never informed that his performance was an issue prior to his workers’ compensation claim
and medical leave.

25. Plaintiff believes and therefore avers that his termination was completely
pretextual, as he was terminated (1) shortly after seeking workers’ compensation benefits; (2)
after being subjected to multiple forms of hostility following his workers’ compensation claim
and request for reasonable accommodations due to the health conditions stemming from his
work-related injury; (3) at a time when he was confiding in Defendant’s management about his
aforesaid health conditions; (4) in close proximity to returning from an FMLA-qualifying leave
of absence; and (5) after complaining to Defendant’s management that he believed his workers’
compensation claim was mishandled by Ms. Mehler, including but not limited to that she had
failed to have an interactive meeting with Plaintiff to determine if he could be accommodated

when he first informed them that he had restrictions and needed accommodations.

 

 
First Cause of Action
Violations of the Family and Medical Leave Act ("FMLA")
(Retaliation & Interference)

26. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

27. Plaintiff was an eligible employee under the definitional terms of the FMLA, 29
US.C. § 2611(a@qai).

28. Plaintiff requested leave from Defendant, his employer, with whom he had been
employed for at least twelve months pursuant to the requirements of 29 U.S.C.A § 2611(2)(i).

29. Plaintiff had at least 1,250 hours of service with Defendant during his last full
year of employment.

30. Defendant is engaged in an industry affecting commerce and employs fifty (50) or
more employees for each working day during each of the twenty (20) or more calendar work
weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

31. Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a
total of twelve (12) work weeks of leave on a block or intermittent basis.

32. Defendant committed interference and retaliation violations of the FMLA by (1}
terminating Plaintiff for requesting and/or exercising his FMLA rights; (2) considering Plaintiff s
FMLA needs in making the decision to terminate his employment; and (3) by taking actions
towards him that would dissuade a reasonable person from exercising his rights under the

FMLA, including but not limited to issuing Plaintiff pretextual and retaliatory discipline.

33, These actions as aforesaid constitute violations of the FMLA.

 
Second Cause of Action
Common-Law Wrongful Discharge
(Public Policy Violation)

34. —_ The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

35. Upon information and belief, Plaintiff was terminated in substantial part for
making a claim for workers’ compensation benefits and/or seeking workers’ compensation
benefits and/or for his work-related injuries (as discussed supra).

36. It is against Pennsylvania’s public policy for an employee to be terminated for
making a workers’ compensation claim and/or seeking workers’ compensation benefits. These
actions as aforesaid constitute wrongful termination in Pennsylvania. See Shick v. Shirey, 552
Pa. 590, 716 A.2d 1231 (1997); Rothrock v. Rothrock Motor Sales, Inc., 584 Pa. 297, 883 A.2d
511, 516 (2005).

37, The antagonism that Plaintiff faced between filing a claim for workers’
compensation and his termination creates an inference that his termination was in retaliation for
making such a claim.

38. These actions as aforesaid constitute wrongful termination in Pennsylvania.
WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendant’s illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

B. | Plaintiff is to be awarded punitive and/or liquidated damages, as permitted by

applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish

 
Defendant for its willful, deliberate, malicious and outrageous conduct and to deter Defendant or
other employers from engaging in such misconduct in the future;

C. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate (including but not limited to damages for emotional distress / pain and
suffering);

D. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

By:

 

Ari R. Karpf, Esq.

3331 Street Road

Two Greenwood Square, Suite 128
Bensalem, PA 19020

(215) 639-0801

Dated: January 29, 2019

 
 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CIVIL ACTION

_ David Kuzmanich *
v. :
Target Corporation ; . NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shail complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve 4 copy onall defendants. (See § 1:03 of the plan set forth on the reverse
aide of this form,) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shali, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus ~ Cascs brought under 28 U.S.C. § 2241 through § 2253. ()

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health ;
and Human Services denying plaintiff Social Security Benefits, 0)

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53,2, ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()

{e) Special Management ~ Cases that do not fall into tracks (a) through (d) that are

commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ()
(f) Standard Management ~ Cases that do not fall into any one of the other tracks, «)
1/29/2019 La Plaintiff
Date Attorney-at-law Attorney for
(215) 639-080) _(215) 639-4970 akarpf@karpf-law.corh
Telephone FAX Number £-Mail Address

(Civ, 660) 10/02

 
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 301 Iris Road, Cherry Hill, NJ 08003
Address of Defendant: 1 Mifflin Street, Philadelphia, PA 19148

 

Place of Accident, Incident or Transaction: Defendant's place of business

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Fes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [] nofx_ |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil nights Yes [| Na
case filed by the same individual?

I certify that, to my knowledge, the within case Cis / 1 is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pate. 1/29/2019 eer ARK2484 / 91538
~_ Athordey-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

 

CIVIL: (Place a ¥ in une categury only)

 

 

 

 

 

 

A Federal Question Cases: B. Diversity Jurisdiction Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts C1 1. Insurance Contract and Other Contracts
[Lj 2. FELA CL] 2. Airplane Personal Injury
[-] 3. Jones Act-Personal Injury LI 3. Assault, Defamation
CJ 4. Antitrust CI 4. Marine Personal Injury

5. Patent CL] 5. Motor Vehicle Personal Injury
H 6. Labor-Management Relations H 6. Other Personal Injury (Please specify):
Kl 7. Civil Rights 7. Products Liability
C] 8 Habeas Corpus [1 8. Products Liability — Asbestos

9, Securities Act(s) Cases L] 9. All other Diversity Cases
H 10, Social Security Review Cases (Please specify):
(] 11. Allother Federal Question Cases

(Ptease specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

1,_AriR. Karpf _ counsel of record er pro se plaintiff, do hereby certify:

 

x | Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

pate: 1/29/2019 mere ARK2484 / 91538
\Vitorney-at-Law / Pro Se Plaintiff Attorney LD. # {if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R-C.P. 38.

 

Civ, 6OY (5/2018)

 

 
JS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papors as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
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purpose of initiating the civil docket sheet. (SEE /NSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS DEFENDANTS
KUZMANICH, DAVID TARGET CORPORATION
(b) County of Residence of First Listed Plaintiff _Camden County of Residence of First Listed Defendant Philadelphia
{EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number} Attorneys (7fKnown)
Karpf, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpflaw.com|
IL BASIS OF JURISDICTION (Pace an “X" in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (tace an “X” in One Box for Plaintif f
(For Diversity Cases Only) and One Box for Defendant)
1 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (CAS, Government Nat a Party} Citizen of This State l 1 Incorporated or Principal Place 4 4
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State 2 2 Incorporated and Principal Place 5 3
Defendant (Indicate Citizenship of Parties in Item 11) of Business In Another State
Citizen or Subject of a 3 3 Foreign Nation 6 4
Foreign Country
OF SUIT (Place an "X" in One Box Only
O 110 Insurance PERSONAL INJURY PERSONAL INJURY ' 422 Appeal 28 USC 158 O 375 False Claims Act
O 120 Marine 314 Airplane 0 363 Personal Injury - of Property 21 USC 881 |’ 423 Withdrawal "376 Qui Tam (31 USC
0 130 Miller Act ' 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 6 367 Health Care/ 1 400 State Reapportionment
0 150 Recovery of Overpayment |' 320 Assault, Libel & Phannaceutical G 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
O 15] Medicare Act ' 330 Federal Employers’ Product Liability 0 830 Patent 0 450 Commerce
0 152 Recovery of Defaulted Liability 0 368 Asbestos Personal 0) 335 Patent - Abbreviated 0 460 Deportation
Student Loans * 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 0 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONALPROPERTY [2 i a 0 480 Consumer Credit
of Veteran's Benefits " 350 Motor Vehicis 0 370 Other Fraud 0 710 Fair Labor Standards 861 HIA (1395f) 0 490 Cable/Sat TV
0 150 Stockholders’ Suits * 355 Motor Vehicle 0 371 Trath in Lending Act 0 862 Black Lung (923} 0 850Securities/Commadities/
0 190 Other Contract Product Liability 0 380 Other Personal 0 720 Labor/Management ” 863 DIWC/DIWW (405(g)) Exchange
B 195 Contract Product Liability |’ 360 Other Personal Property Damage Relations 0 864 SSID Title XVI CO 890 Other Statutory Actions
0 196 Franchise Injury 0 385 Property Damage 6 740 Railway Labor Act * 865 RSI (403(g)) 0 891 Agricultural Acts
' 362 Personal injury - Product Liability ' 751 Family and Medical 0 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
Ce RE ALES Ee. ‘ R Es] TIONS210 790 Other Labor Litigation ED a E S Act
O 210 Land Condemnation 0 Habeas Corpus: fl 791 Employee Retirement 0 870 Taxes (U.S, Plaintiff 0 896 Arbitration
O 220 Foreclosure Q 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 &99 Administrative Procedure
0 230 Rent Lease & Ejectment DX 442 Employment 1 510 Metions to Vacate D 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations Oo 3530 General 0 950 Constitutionality of
6 290 All Other Real Property 0 448 Amer. w/Disabilities - |0 535 Death Penalty F a State Statutes
Employment Other: 0 462 Naturalization Application
0 446 Amer. w/Disabilities- [0 549 Mandamus & Other |0 465 Other Immigration
Other O 550 Civil Rights Actions
0 448 Education 11 555 Prison Condition
0 560 Civil Detainee -
Conditions of
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V. ORIGIN (Pace an “x” in One Box Only)
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
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ENG the OaUSC260 yinder which you are filing (Do not cite jurisdictional statutes untess diversity)
VL CAUSE OF ACTION [- rr ,
Brief description of cause: .
Violations of the FMLA and Pennsylvania common law.
VIL REQUESTED IN 0 CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. JURYDEMAND: _XYes No |
VILL. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
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FOR OFFICE USE ONLY _ Lf
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

   

 
